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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 CHERYL SAGATAW AND DEANTHONY                            CIVIL NO. 24-CV-0001 (ECT/TNL)
 BARNES, ON BEHALF OF THEMSELVES AND A
 CLASS OF SIMILARLY-SITUATED INDIVIDUALS,

                          PLAINTIFFS,                            PRETRIAL
                                                             SCHEDULING ORDER
 V.

 MAYOR JACOB FREY, IN HIS INDIVIDUAL AND
 OFFICIAL CAPACITY,

                          DEFENDANT.




       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of this
Court, and in order to secure the just, speedy, and less expensive determination of this action, the
following schedule shall govern these proceedings. This schedule may be modified only upon
formal motion and a showing of good cause as required by D. Minn. LR 16.3.

      1. Fact Discovery

            a. All pre-discovery disclosures required by Fed. R. Civ. P. 26(a)(1) shall be
               completed on or before June 15, 2024.

            b. Fact discovery shall be commenced in time to be completed on or before December
               15, 2024.

            c. No more than 30 Interrogatories, counted in accordance with Fed. R. Civ. P. 33(a),
               shall be served by any side.

            d. No more than 30 Document Requests shall be served by any side.

            e. No more than 35 Requests for Admissions shall be served by any side

            f. No more than one Fed. R. Civ. P. 35 medical examination shall be served by any
               side to each Plaintiff per medical specialty reasonably required to ascertain the
               extent of the injuries or disabilities alleged by Plaintiffs. Such Fed. R. Civ. P. 35
               medical examination(s) shall be served on or before June 1, 2025.




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      g. No more than 12 depositions, excluding expert witness depositions, shall be taken
         by any side.

      h. On or before June 15, 2024, the parties shall jointly CM/ECF file a proposed
         stipulated Protective Order for the Court’s consideration. The sealing of entire
         pleadings, memoranda of law, exhibits, and the like is strongly discouraged. No
         document shall be filed under seal unless such document or information therein is
         genuinely confidential and/or there are compelling reasons to do so. Any party
         seeking to file a document under seal shall specifically review each document and
         the information therein to limit sealing only to the extent necessary. If a party files
         a document containing confidential information with the Court, it shall do so in
         compliance with the Electronic Case Filing Procedures for the District of Minnesota
         and Local Rule 5.6. Any joint motion made pursuant to Local Rule 5.6 before
         United States Magistrate Judge Tony N. Leung shall conform to Exhibit A
         attached hereto. Counsel shall provide the Court with two courtesy copies of the
         unredacted documents with the redacted information highlighted in yellow.

      i. Any party claiming privilege or protection of trial-preparation materials shall serve
         on the party seeking discovery a privilege log that complies with the requirements
         in Fed. R. Civ. P. 26(b)(5).

2. ESI Discovery Plan

      a. The parties shall preserve all electronic documents that bear on any claims,
         defenses, or the subject matter of the lawsuit.

      b. Documents shall be produced in text-searchable .pdf format with the exception of
         presentations, photographs, and videos which shall be produced in native format
         where possible. Body-worn camera videos will be produced as .mp4 files and with
         information identifying the officer making the recording, the title and id number
         assigned to the recording by the recording officer, the date and time recorded, and
         the duration of the recording. Discovery requests requiring a voluminous document
         review shall not be fulfilled until the parties have met and conferred upon
         reasonable search terms with the goal of requiring only a single review of any given
         document set.

3. Expert Discovery

      a. Each side may call no more than three expert witnesses plus any medical experts as
         reasonably required by each individual Plaintiff’s claim.

      b. Each side shall take no more than one deposition per expert.




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      c. The parties acknowledge that Plaintiff’s treating doctors and medical care providers
         are not retained experts and that each party will have access to all relevant medical
         records. Plaintiff anticipates that such treating doctors will be allowed to testify
         regarding their care and treatment. Defendant agrees that such treating doctors are
         not subject to the expert disclosure requirement set forth in Fed. R. Civ. P. 26(a)(2),
         and reserves the right to challenge the scope of their testimony to be offered at trial.

      d. Disclosure of the identity of expert witnesses under Fed. R. Civ. P. 26(a)(2)(A) and
         the full disclosures required by Fed. R. Civ. P. 26(a)(2)(B), accompanied by the
         written report prepared and signed by the expert witness, shall be made as follows:

              i. Plaintiff
                     1. Identification by Plaintiff on or before December 15, 2024.
                     2. Report by Plaintiff on or before February 1, 2025.
                     3. Rebuttal witness and reports shall be disclosed on or before April 1,
                         2025.

             ii. Defendant
                    1. Identification by Defendant on or before February 15, 2025.
                    2. Report by Defendant on or before March 15, 2025.
                    3. Rebuttal witness and reports shall be disclosed on or before April
                       15, 2025.

      e. Expert discovery, including depositions, shall be completed on or before June 1,
         2025.

4. Non-Dispositive Motions

      a. Non-dispositive motions may be scheduled for hearing by calling the Court’s
         Courtroom Deputy at 612-664-5470.

      b. All motions which seek to amend the pleadings, including without limitation, a
         motion for leave to amend to add parties must be served on or before August 15,
         2024.

      c. Motions for leave to amend to add punitive damage claims must be served and filed
         on or before October 15, 2024.

      d. Except as to non-dispositive motion deadlines specifically set forth elsewhere in
         this Order, all non-dispositive motions and supporting documents, including those
         which relate to discovery, shall be served and filed on or before December 15, 2024.

      e. All non-dispositive motions and supporting documents which relate to expert
         discovery shall be filed and served on or before June 1, 2025.




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       f. Prior to scheduling any non-dispositive motion, parties are strongly encouraged to
          consider whether the motion, including motions relating to discovery and
          scheduling, can be informally resolved through telephone conference with the
          Magistrate Judge. All non-dispositive motions shall be scheduled, filed and served
          in compliance with the Electronic Case Filing Procedures for the District of
          Minnesota and in compliance with D. Minn. LR 7.1 and 37.1.

       g. At the Rule 16 Scheduling Conference, the Court advised the parties that it is
          willing to resolve non-dispositive disputes between the parties on an informal basis
          via a telephone conference. However, before the Court will agree to proceed with
          this informal resolution mechanism, the "meet and confer" required by Fed. R. Civ.
          P. 37(a)(1) and D. Minn. LR 37.1 must have taken place, and all parties to the
          dispute must agree to use this informal resolution process as the very nature of the
          process is such that the parties are giving up rights they would otherwise have (e.g.,
          the dispute is heard over the phone; there is no recording or transcript of the phone
          conversation; no briefs, declarations or sworn affidavits are filed). If the parties do
          agree to use this informal resolution process, one of the parties shall contact
          Magistrate Judge Leung’s chambers to schedule the conference. The parties shall
          submit short letters prior to the conference to set forth their respective positions.
          The requesting party shall submit its letter 7 days prior to the conference; the
          responding party shall submit its letter 4 days prior to the conference. The Court
          will read the written submissions of the parties before the phone conference, hear
          arguments of counsel at the conference, and if no one changes their decision during
          the phone conference regarding their willingness to participate in this informal
          resolution process, the Court will issue its decision at the conclusion of the phone
          conference or shortly after the conference. Depending on the nature of the dispute,
          the Court may or may not issue a written order. If there is no agreement to resolve
          a dispute through this informal resolution process, then the dispute must be
          presented to the Court via formal motion and hearing.

5. Class Certification and Dispositive Motions

       a. All class certification motions shall be filed and served by the moving party on or
          before February 1, 2025. All dispositive motions shall be filed and served by the
          moving party on or before August 1, 2025.

       b. Counsel for the moving party should schedule the hearing shortly before filing their
          motion papers by calling the Courtroom Deputy for Judge Eric Tostrud, at 651-
          848-1190. The parties must comply with Local Rule 7.1 and the Electronic Case
          Filing Procedures Guide, Civil Cases.

       c. When scheduling a summary judgment hearing, the parties must notify the Court
          whether there will be cross-motions for summary judgment so that the Court may
          enter an appropriate briefing order. The parties should confer about the possibility
          of cross-motions before contacting chambers to schedule a summary judgment
          hearing.



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      d. Two courtesy copies of all memoranda and one courtesy copy of all supporting
         documents should be delivered to Judge Tostruds’s chambers no later than the next
         business day after documents are filed on ECF. Judge Tostrud prefers that the
         courtesy copies be three-hold punched; unstapled; printed double-sided, if feasible;
         and, if voluminous, appropriately tabbed.

6. Status & Settlement Conferences

      a. The parties do not agree that a settlement conference is appropriate in this case at
         this time.

      b. On or shortly before September 26, 2024, December 20, 2024, March 20, 2025,
         June 12, 2025, and September 8, 2025, counsel for each party shall submit
         CONFIDENTIAL letters to the Court setting forth with reasonable specificity the
         status of the case; the relative strengths and weaknesses of each party’s position; an
         update of efforts toward settlement; the last settlement positions of the parties;
         whether a settlement conference with a private mediator or the court would be
         productive; and a litigation budget. Each letter shall not exceed three pages. On or
         shortly before the date each such letter is due, counsel for the parties shall meet and
         confer to discuss the status of the case and discuss settlement.

      c. A final settlement conference shall be scheduled by the Court on a later date when
         needed.

7. Trial

      a. This case shall be ready for a Jury trial on December 1, 2025.

      b. Anticipated length of trial is 12 days.

8. Prior Orders and Remedies

      a. All prior consistent orders remain in full force and effect.

      b. Failure to comply with any provision of this Order or any other prior consistent
         Order shall subject the non-complying party, non-complying counsel and/or the
         party such counsel represents to any and all appropriate remedies, sanctions and the
         like, including without limitation: assessment of costs, fines and attorneys’ fees and
         disbursements; waiver of rights to object; exclusion or limitation of witnesses,
         testimony, exhibits and other evidence; striking of pleadings; complete or partial
         dismissal with prejudice; entry of whole or partial default judgment; and/or any
         other relief that this Court may from time to time deem appropriate.




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      IT IS SO ORDERED.



Dated: March 7, 2024                    s/Tony N. Leung
                                        Magistrate Judge Tony N. Leung
                                        United States District Court
                                        District of Minnesota

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